        Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 1 of 30




                                   STATEMENT OF FACTS

       Your affiant, Jimmy S. Park, is a Special Agent assigned to Federal Bureau of Investigation

(FBI) and has been so employed since 2011. Specifically, I am assigned to the Tampa Field Office,

Joint Terrorist Task Force (JTTF). I am currently tasked with investigating criminal activity in

and around the Capitol grounds on January 6, 2021. As an FBI Special Agent, I have participated

in numerous investigations involving foreign and domestic threats to United States’ national

security. I am authorized by law or by a Government agency to engage in or supervise the

prevention, detention, investigation, or prosecution of a violation of Federal criminal laws. I am a

“federal law enforcement officer” within the meaning of Federal Rule of Criminal Procedure

41(a)(2)(C).

                                      PROBABLE CAUSE

                                           Background

       1.      The US Capitol Police (USCP), the FBI, and assisting law enforcement agencies

are investigating a riot and related offenses that occurred at the United States Capitol Building,

located at 1 First Street, NW, Washington, D.C., 20510 on January 6, 2021.

                       The 2020 United States Presidential Election and
                         the Official Proceeding on January 6, 2021

       2.      The 2020 United States Presidential Election occurred on November 3, 2020.

       3.      The United States Electoral College is a group required by the Constitution to form

every four years for the sole purpose of electing the president and vice president, with each state

appointing its own electors in a number equal to the size of that state’s Congressional delegation.

       4.      On December 14, 2020, the presidential electors of the U.S. Electoral College met

in the state capital of each state and in the District of Columbia and formalized the result of the
         Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 2 of 30




2020 U.S. Presidential Election: Joseph R. Biden Jr. and Kamala D. Harris were declared to have

won sufficient votes to be elected the next president and vice president of the United States.

         5.    On or about December 19, 2020, President Donald J. Trump tweeted, “Statistically

impossible to have lost the 2020 Election. Big protest in D.C. on January 6th. Be there, will be

wild!”

         6.    On January 6, 2021, a Joint Session of the United States House of Representatives

and the United States Senate (“the Joint Session”) convened in the United States Capitol building

(the “Capitol” or the “U.S. Capitol”) to certify the vote of the Electoral College of the 2020 U.S.

Presidential Election (the “Certification”).

                                 Criminal Activity Before the Riot

         7.    Based on my knowledge, training, and experience, I know that participants in the

kinds of criminal activities described herein tend to, and often did here, take certain preparatory

steps before committing their crimes, including: researching and purchasing materials and supplies

such as burner phones, tactical vests and helmets, and weapons including bear spray, pepper spray,

asps (police batons), guns and ammunition, and zip tie restraints; mapping and reconnoitering the

location of the planned crime and possible entry and escape routes, including checking for

surveillance cameras and other potential security surrounding such locations; training in how to

use their weapons and other tools and techniques involved in their planned criminal activity; and

organizing with other co-conspirators on social media and elsewhere for planned travel and

methods of attack.

         8.    Beginning after the election in November 2020, text and other communications

show that some groups of subjects planned and attended military-style training in preparation for

opposing the results of the election. Multiple groups that forcibly entered the Capitol appeared to
        Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 3 of 30




consist of individuals who had coordinated their actions. Some groups at the riot included

members who dressed in similar uniforms with the same insignia, and members of some groups

can be heard on video giving and following instructions. Based on my training and experience,

and this investigation, these groups’ manner of dress, movements, and communication

demonstrate that they had prepared together. Furthermore, the movement of these groups within

the Capitol demonstrates an intent to, among other things, oppose by force Congress’s authority,

and to prevent, hinder, or delay the execution of the Joint Session’s legal responsibilities.

       9.      Beginning in December 2020, using social media, text messaging, and messaging

applications, subjects planning to participate in the riot sent incendiary messages aimed at

recruiting as large a following as possible to go to Washington, D.C. to interfere with the official

Congressional proceeding on January 6, 2021. This investigation has shown that many of the

subjects of this investigation came from out of state and coordinated using social media, text

messaging, and messaging applications on their cell phones.

       10.     During the time when the subjects were inside the Capitol building, multiple

subjects were observed inside the U.S. Capitol wearing what appears to be, based upon my training

and experience, tactical vests and helmets. The common equipment and paraphernalia that groups

inside and outside the Capitol possessed, such as bear spray, eye protection, tactical vests, and

helmets, are evidence of some prior agreement among individuals to engage in the conduct

described herein.

                         The Riot at the U.S. Capitol on January 6, 2021

       11.     At the U.S. Capitol, the building itself has 540 rooms covering 175,170 square feet

of ground, roughly four acres. The building is 751 feet long (roughly 228 meters) from north to

south and 350 feet wide (106 meters) at its widest point. The U.S. Capitol Visitor Center is 580,000
        Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 4 of 30




square feet and is located underground on the east side of the Capitol. On the west side of the

Capitol building is the West Front, which includes the inaugural stage scaffolding, a variety of

open concrete spaces, a fountain surrounded by a walkway, two broad staircases, and multiple

terraces at each floor. On the East Front are three staircases, porticos on both the House and Senate

side, and two large skylights into the Visitor’s Center surrounded by a concrete parkway. All this

area was barricaded and off limits to the public on January 6, 2021.

       12.     The U.S. Capitol is secured 24 hours a day by USCP. Restrictions around the U.S.

Capitol include permanent and temporary security barriers and posts manned by USCP. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       13.     On January 6, 2021, the area of the U.S. Capitol grounds was established as a

restricted area. This restricted area consisted of both permanent and temporary security barriers

as well as posts manned by USCP to include bike racks. The restricted area was bounded to the

north of the U.S. Capitol along Constitution Avenue; to the south of the U.S. Capitol along

Independence Avenue; to the west of the U.S. Capitol along the eastern side of First Street; and,

on the east side of the U.S. Capitol, between the East Front and the grassy areas located between

the Plaza and First Street. Within the grassy area, a designated area for media was restricted by

bike racks. This bounded area is hereinafter referred to as the “Restricted Grounds.” People could

lawfully be on the Capitol grounds outside of the Restricted Grounds including on the East Front,

east of the bike racks along the Capitol Plaza, including all of the grassy areas on the East Front.

       14.     Within the West Front of the Restricted Grounds were additional temporary barriers

due to preparations and ongoing construction for the Presidential Inauguration including perforated

green plastic sheeting attached to stakes at regular intervals, known as snow fencing, and signage
        Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 5 of 30




stating “Area Closed by order of the United States Capitol Police Board.” The exterior plaza of

the U.S. Capitol was also closed to members of the public.

       15.      A map of the area of the U.S. Capitol showing the Restricted Grounds is below,

the red line marks the police line at the edges of the Restricted Grounds:




       16.      On January 6, 2021, a joint session of the United States Congress convened at the

U.S. Capitol.    During the joint session, elected members of the United States House of

Representatives and the United States Senate were meeting in separate chambers of the U.S.

Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election, which

took place on November 3, 2020. The joint session began at approximately 1:00 p.m. Eastern
        Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 6 of 30




Standard Time (EST). Shortly thereafter, by approximately 1:30 p.m., the House and Senate

adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was

present and presiding, first in the joint session, and then in the Senate chamber.

       17.     As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and USCP were present and attempting to keep the crowd

away from the Capitol building and the proceedings underway inside.

       18.     At around 1:00 p.m., known and unknown individuals broke through the police

lines, toppled the outside barricades protecting the U.S. Capitol, and pushed past USCP and

supporting law enforcement officers there to protect the U.S. Capitol. Pipe bombs were later found

near both the Democratic National Committee and Republican National Committee headquarters.

       19.     At around 1:30 p.m., USCP ordered Congressional staff to evacuate the House

Cannon Office Building and the Library of Congress James Madison Memorial Building in part

because of a suspicious package found nearby.

       20.     Media reporting showed a group of individuals outside of the Capitol chanting,

“Hang Mike Pence.” I know from this investigation that some individuals believed that Vice

President Pence possessed the ability to prevent the certification of the presidential election and

that his failure to do so made him a traitor.

       21.     At approximately 2:00 p.m., some people in the crowd forced their way through,

up, and over the barricades and law enforcement. The crowd advanced to the exterior façade of

the building. The crowd was not lawfully authorized to enter or remain in the building and, prior

to entering the building, no members of the crowd submitted to security screenings or weapons
        Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 7 of 30




checks by U.S. Capitol Police Officers or other authorized security officials. At such time, the

certification proceedings were still underway and the exterior doors and windows of the U.S.

Capitol were locked or otherwise secured. Members of law enforcement attempted to maintain

order and keep the crowd from entering the Capitol.

       22.     Shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the

crowd encouraged and assisted those acts. Publicly available video footage shows an unknown

individual saying to a crowd outside the Capitol building, “We’re gonna fucking take this,” which

your affiant believes was a reference to “taking” the U.S. Capitol.




       23.     Multiple groups that forcibly entered the Capitol appeared to consist of individuals

who had practiced and/or coordinated their actions. For example, some groups included members

who dressed in similar uniforms with the same insignia, and members of some groups can be heard

on video giving and following instructions. Based on my training and experience, and this
        Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 8 of 30




investigation, these groups’ manner of dress, movements, and communication demonstrate that

they had prepared together. In addition, the equipment and paraphernalia that groups inside and

outside the Capitol possessed, such as bear spray, eye protection, and helmets, are evidence of

some prior agreement among individuals to engage in the conduct described herein. Finally, the

movement of these groups within the Capitol demonstrates an intent to, among other things,

oppose by force Congress’s authority and to prevent, hinder, or delay the execution of the Joint

Session’s legal responsibilities

       24.     Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. That is, at or about this time,

USCP ordered all nearby staff, Senators, and reporters into the Senate chamber and locked it down.

USCP ordered a similar lockdown in the House chamber. As the subjects attempted to break into

the House chamber, by breaking the windows on the chamber door, law enforcement was forced

to draw their weapons to protect the victims sheltering inside.

       25.     At approximately 2:30 p.m., known and unknown subjects broke windows and

pushed past USCP and supporting law enforcement officers forcing their way into the U.S. Capitol

on both the west side and the east side of the building. Once inside, the subjects broke windows

and doors, destroyed property, stole property, and assaulted federal police officers. Many of the

federal police officers were injured and several were admitted to the hospital.

       26.     The subjects also confronted and terrorized members of Congress, Congressional

staff, and the media. The subjects carried weapons including tire irons, sledgehammers, bear

spray, and Tasers. They also took police equipment from overrun police including shields and

police batons and used them against law enforcement officers trying to protect the U.S. Capitol
        Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 9 of 30




and the people who were legitimately inside it. At least one of the subjects carried a handgun with

an extended magazine. These actions by the unknown individuals resulted in the disruption and

ultimate delay of the vote Certification.

       27.     Also, at approximately 2:30 p.m., USCP ordered the evacuation of lawmakers, Vice

President Mike Pence, and president pro tempore of the Senate, Charles Grassley, for their safety.

       28.     At around 2:45 p.m., subjects broke into the office of House Speaker Nancy Pelosi.

       29.     At around 2:47 p.m., subjects broke into the United States Senate Chamber.

Publicly available video on the news media website of The New Yorker shows an individual

asking, “Where are they?” as they opened up the door to the Senate Chamber. Based upon the

context, law enforcement believes that the word “they” is in reference to members of Congress.




       30.     After subjects forced entry into the Senate Chamber, the same publicly available

video shows that an individual asked, “Where the fuck is Nancy?” Based upon other comments

and the context, law enforcement believes that the “Nancy” being referenced was the Speaker of

the House of Representatives, Nancy Pelosi.
       Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 10 of 30




       31.    A subject left a note on the podium on the floor of the Senate Chamber. This note,

captured by the filming reporter on the same video, stated, “Its Only A Matter of Time Justice is

Coming.”
       Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 11 of 30




        32.     At around 2:48 p.m., DC Mayor Muriel Bowser announced a citywide curfew

beginning at 6:00 p.m.

        33.     At about 3:25 p.m., law enforcement officers cleared the Senate floor.

        34.     At around 4:52 p.m., at a staging area for the media set up outside of the U.S.

Capitol building on the east side, unknown subjects assaulted members of the media and stole and

destroyed equipment owned by various members of the media and media companies.

        35.     Between 3:25 and around 6:30 p.m., law enforcement was able to clear the U.S.

Capitol of all of the subjects.

        36.     Based on these events, all proceedings of the United States Congress, including the

joint session, were effectively suspended until shortly after 8:00 p.m. the same day. In light of the

dangerous circumstances caused by the unlawful entry to the U.S. Capitol, including the danger

posed by individuals who had entered the U.S. Capitol without any security screening or weapons

check, Congressional proceedings could not resume until after every unauthorized occupant had

left the U.S. Capitol, and the building had been confirmed secured. The proceedings resumed at

approximately 8:00 pm after the building had been secured. Vice President Pence remained in the

United States Capitol from the time he was evacuated from the Senate Chamber until the session

resumed.

        37.     Beginning around 8:00 p.m., the Senate resumed work on the Certification.

        38.     Beginning around 9:00 p.m., the House resumed work on the Certification.

        39.     Both chambers of Congress met and worked on the Certification within the Capitol

building until approximately 3 a.m. on January 7, 2021.
       Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 12 of 30




                                Facts Specific to This Application

       40.     James Delisco Beeks is a 48-year-old1 resident of Orlando, Florida. As described

more fully herein, Beeks conspired with others known and unknown to forcibly enter the Capitol

on January 6, 2021, and to obstruct the Congressional proceeding occurring that day.

       41.     As explained more fully below, at around 2:30 p.m., a group of Oath Keeper

members and affiliates—many of whom were wearing clothing and patches with the Oath Keepers

name, logo, and insignia—marched in a “stack” formation2 (“Stack One”) onto the Capitol grounds

and then up the east steps of the Capitol to the area outside of the Rotunda Doors. At the time, the

doors were closed and guarded by United States Capitol Police officers. Stack One joined a mob

of people, some of whom attacked officers in trying to gain entry into the Capitol while yelling,

“Take their shields,” “Our house,” and “We want Trump!” Attackers assaulted officers using

pepper spray, flagpoles, and numerous improvised weapons and projectiles. They also disarmed

the officers by stealing their shields and pushing them away from the Rotunda Doors. At 2:38

p.m., the doors were breached, and Stack One stormed into the Capitol alongside the mob. The

Rotunda Doors and surrounding façade suffered thousands of dollars’ worth of damage during the

attack on the Capitol.

       42.     Beeks was a member of Stack One.

       43.     Once inside the Capitol, Stack One entered the Rotunda and then split up. Half of

Stack One, including Beeks, tried to push their way through a line of law enforcement officers




1
  The age listed is as of January 6, 2021.
2
  Law enforcement reports that a stack or column formation is a tactical formation used by
infantryman in the military. One defining feature of this formation is that members keep their
hands on the backs or vests of the person in front of them to remain together while entering a room
or weaving through a crowd. The purpose of maintaining direct physical contact with one another
is to efficiently communicate with one another, especially in crowded or noisy areas.
       Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 13 of 30




guarding a hallway that led to the Senate chamber. Law enforcement officers forcibly repelled

their advance. The participants in this half of Stack One, including Beeks, regrouped in the

Rotunda and then left the building, at approximately 3:04 p.m. The other half of Stack One headed

towards the House of Representatives; according to at least one member, they were looking for

Speaker of the House Nancy Pelosi. They did not find Speaker Pelosi and ultimately left the

building.

       44.     Later, another group of six Oath Keepers and associates formed a second “stack”

formation (“Stack Two”) and breached the Capitol grounds, marching from the west to the east

side of the Capitol building and up the east stairs. At around 3:15 p.m., some of Stack Two

breached the same Rotunda Doors that Stack One had previously entered. Once inside, at least

two members of Stack Two forced their way past law enforcement officers trying to guard the

Rotunda. These members started shouting at officers to “get out” of “my Capitol.” One of them

violently pulled at and pushed his way past the officers, forcing officers to deploy chemical spray

to stop their progress.

       45.     In a widely disseminated video3 recorded by a photojournalist on January 6, 2021,

Stack One moves up and through a crowd on the east side of the U.S. Capitol. A screenshot of the

video is below, with a portion of Stack One encircled by a red oval:




3
  See https://apnews.com/article/ex-military-cops-us-capitol-riot-a1cb17201dfddc98291edead5
badc257/gallery/0ecd1781c66d437f92c61b3f4848a74e (at slide 9).
       Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 14 of 30




       46.     AP News footage shows an individual who appears to be Beeks (indicated with red

circle) as part of Stack One:
         Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 15 of 30




         47.   A service called “News2Share” uploaded to YouTube a video of the January 6,

2021, attack at the Capitol. At the approximate 3-minute-and-8-second mark, the video shows

individuals in matching uniforms consisting of camouflaged-combat attire aggressively

approaching an entrance to the Capitol.4 These individuals, who are wearing helmets, reinforced

vests, and clothing with Oath Keeper logos and insignia, can be seen moving in an organized and

practiced fashion and forcing their way to the front of the crowd gathered around a set of doors to

the Capitol.




4
    See https://www.youtube.com/watch?v=b76KfHB0QO8&feature=youtu.be.
       Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 16 of 30




       48.    Surveillance video from inside the Capitol shows Stack One (and other members

of the crowd) shortly after breaching the doors to the Capitol. Beeks can be seen in the center,

near a number of other coconspirators:




       49.    Surveillance video from inside the Capitol Rotunda on January 6, 2021, also shows

a person consistent with Beeks, along with other members of Stack One:
       Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 17 of 30




       50.     Surveillance video from inside the Capitol further captures the person consistent

with Beeks holding up a cell phone as if to capture photos or video:




       51.     On August 4, 2021, a federal grand jury in Washington, D.C., handed down a

superseding indictment in case number 21-CR-00028, charging Thomas Caldwell, Jessica

Watkins, Donovan Crowl, Sandra Parker, Bennie Parker, Laura Steele, Kelly Meggs, Connie

Meggs, Kenneth Harrelson, Roberto Minuta, Joshua James, Jonathan Walden, Joseph Hackett,
         Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 18 of 30




Jason Dolan,5 William Isaacs, David Moerschel, and Brian Ulrich on counts of Conspiracy, in

violation of 18 U.S.C. § 371; Obstruction of an Official Proceeding and Aiding and Abetting, in

violation of 18 U.S.C. §§ 1512(c)(2), 2; and related charges. The indictment alleges that Watkins,

Crowl, Steele, Sandra Parker, Kelly Meggs, Connie Meggs, Harrelson, Hackett, Dolan, Isaacs, and

Moerschel were part of Stack One. Minuta, James, Walden, and Ulrich are alleged to have been

part of Stack Two. Caldwell and Bennie Parker are alleged to have conspired with and aided

abetted their co-defendants.

          52.    In addition to the 17 individuals named in the above paragraph, three additional co-

conspirators have pled guilty: Stack One members Graydon Young (in case number 21-CR-00028)

and Caleb Berry (in case number 21-CR-00460), and Stack Two member Mark Grods (in case

number 21-CR-00437). One of the Stack One members who has pled guilty will be referred to as

“Defendant 4.”

          53.    According to Defendant 4 and video and photographic evidence, Beeks joined with

this group of Oath Keepers while walking from the Ellipse to the Capitol. Unlike the camouflaged-

combat attire of the individuals described above, Beeks was wearing a black jacket with the word

“BAD” written in red on the left breast, a burgundy hooded sweatshirt, black pants, a black helmet,

black boots, yellow-tinted goggles, dark tan gloves, and a patterned tan and green neck gaiter

pulled up over his nose, and he was carrying what appears to be a black shield. He also wore on

his neck what appears to be a commercially available body-worn camera.

          54.    Beeks can be seen in the below photograph walking with other Oath Keeper

members towards the Capitol:




5
    Dolan has since pled guilty.
       Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 19 of 30




       55.    Similarly, Beeks (red arrow) can be seen in the below screenshot from surveillance

footage, walking with other members of the Oath Keepers onto the north side of the Capitol

grounds at 2:27 p.m.:




       56.    Beeks is then seen approaching the Capitol with his right hand, clad in a dark tan

glove, on the back of defendant and coconspirator Sandra Parker:
       Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 20 of 30




       57.     Later, Beeks (red arrow) is seen standing on the steps of the Capitol, behind

defendant and coconspirator Crowl (yellow arrow):




       58.     Finally, Beeks is seen standing on the Capitol grounds with other members of the

Oath Keepers, after exiting the Capitol building:
       Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 21 of 30




       59.    Law enforcement showed Defendant 4 the above photograph of Beeks from

January 6, 2021. According to Defendant 4, Defendant 4 had not met or corresponded with Beeks

prior to January 6, and Defendant 4 did not know Beeks’s name. Defendant 4 described Beeks as

a young (20s) Black male. Defendant 4 stated that Beeks did not pull down his neck gaiter while

they were together, so Defendant 4 never saw Beeks’s face.

       60.    Defendant 4 stated that he spoke with Beeks while the group walked towards the

Capitol. According to Defendant 4, Beeks approached the group, and specifically Defendant 4,

and stated that he was an Oath Keeper, that he had recently joined the Oath Keepers, that he was

from Orlando, and that he had been following Kelly Meggs’s posts on social media. Beeks further

told Defendant 4 that Beeks’s shield was homemade and was bulletproof.
       Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 22 of 30




       61.     Law enforcement was able to corroborate most of Defendant 4’s description of

Beeks and Beeks’s statements. Beeks is a Black male. At the time, he was 48 years old (not in

his 20s), but he has a youthful appearance. His last known address was in Orlando, Florida. And

he paid dues to the Oath Keepers on December 21, 2020,6 just two weeks before January 6.

       62.     While law enforcement was not able to locate a photograph or video of Beeks at

the Capitol with his full face visible (because of his helmet and gaiter), law enforcement was able

to make a comparison based on his visible ear. Specifically, a photograph of Beeks’s right ear

while at the Capitol appears similar to Beeks’s right ear as seen on a video of Beeks on Beeks’s

YouTube page7 (see below for further discussion of Beeks’s online presence), including a

pronounced antihelix:




6
  Pursuant to legal process, the government obtained records from Rally Pay showing that Beeks
made an annual membership payment to Oath Keepers, Inc., on December 21, 2020. Beeks
provided a phone number ending in 2032, an email address of [redacted]@jamesdbeeks.com, and
a billing address in Orlando, Florida.
7
  https://www.youtube.com/watch?v=-n-u3v2ojs4
       Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 23 of 30




       63.     As explained below, law enforcement was further able to corroborate Beeks’s

possession of the black jacket that appears consistent with the one he was seen wearing on January

6, 2021. The jacket appears to be from Michael Jackson’s BAD world tour, which started in 1987.

This is a photograph of a replica of the jacket (front and back), available for sale online:




       64.     Law enforcement located open source photographs of a person who appears to be

Beeks wearing this same jacket. The following photographs were posted on Instagram on April

4, 2020, by a person who included the hashtag #jesuschristsuperstar:
       Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 24 of 30




       65.     According to an online cast listing,8 the person who posted the photographs on

Instagram is an actor in a traveling production of the play Jesus Christ Superstar. Beeks, under

the stage name “James T. Justis,” is also an actor in that same production.

       66.     Beeks has an additional connection to Michael Jackson: According to his LinkedIn

profile9 and YouTube page,10 Beeks regularly performs as a Michael Jackson impersonator. His

YouTube page, under the name James Delisco Beeks with a username of “jdmoonwalker,”

describes him as “one of the Top Michael Jackson Tribute artists in the US.”

       67.     Law enforcement was able to corroborate evidence that Beeks was in the

Washington, D.C., area on January 6.




8
  https://ustour.jesuschristsuperstar.com/our-people/cast/
9
  https://linkedin.com/in/jamesdbeeks. The page includes a photograph of Beeks consistent with
Beeks’s driver’s license.
10
   https://www.youtube.com/user/jdmoonwalker/about.
        Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 25 of 30




        68.    Pursuant to legal process, the government obtained records from Chase Bank

showing Beeks as the owner of debit card ending in 9802. The same records show that the debit

card was used to make an ATM withdrawal in Northern Virginia on January 5, 2021. According

to the same records, debit card 9802 was used at a parking lot in Washington, D.C., on January 6,

2021.

        69.    Pursuant to legal process, the government obtained records showing that Beeks paid

for hotels on January 5, 2021 in Pooler, Georgia, and January 7, 2021 in Rocky Mount, North

Carolina, consistent with roundtrip travel from Orlando, Florida, to Washington, D.C.

        70.    Pursuant to legal process, the government obtained records from Avis Budget

Group, showing that Beeks rented a Toyota 4Runner from December 30, 2020 through January

13, 2021. Beeks provided Avis with the same phone number ending in 2032 that he provided to

the Oath Keepers organization. According to Avis, the total mileage on the vehicle was 2456

miles, which is consistent with at least a trip from Orlando, Florida, to Washington, D.C., and back

– about 850 miles each way.

        71.    Pursuant to legal process, the government obtained records from T-Mobile, which

showed that phone number ending in 2032 was registered to James Beeks at his known address in

Orlando, Florida, in January 2021.

        72.    Pursuant to legal process, the government obtained records from Shooters World

in Orlando, Florida, showing Beeks provided contact information including the phone number

ending in 2032, email address [redacted]@jamesdbeeks.com, and his known driver’s license

number and date of birth. Beeks visited the shooting range on at least three separate occasions:

July 17, 2020, August 15, 2020, and January 14, 2021.
        Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 26 of 30




        73.        Pursuant to legal process, the government obtained records from T-Mobile, which

showed an IMEI ending in 6070 registered on the account of the phone number ending in 2032.

According to database information this IMEI is associated with an iPhone 8 Plus device. An IMEI

stands for International Mobile Equipment Identity, which is a 15-digit number unique to each

device. From your affiant’s training and experience, I know that this means Beeks used an iOS

platform to operate this device.

        74.        Pursuant to legal process, the government obtained records from Apple, which

showed James Beeks, DSID 1374741523, utilized a phone number ending in 2032 and his known

address in Orlando, Florida. Additionally, according to the Apple records, Beeks appears to have

the backup feature turned on for photos, iCloud drive, messages, and email.

        75.        Beeks appears to have changed his phone and phone number starting around

February 20, 2021. Note that the first indictment in case 21-cr-00028 naming co-conspirators from

Florida (including Kelly Meggs) was filed the day prior (February 19), and it was covered

extensively in the press, especially in Florida.11

        76.        Pursuant to legal process, the government obtained records from T-Mobile showing

service to phone number ending in 2032 was canceled by Beeks on February 20, 2021, and the

same day Beeks activated the phone number ending in 9669 with a pre-paid Boost Mobile service.

According to T-Mobile, as of November 10, 2021, the phone number ending in 9669 appears to

still be active.




11
   See, e.g., https://www.ocala.com/story/news/2021/02/20/couple-arrested-jan-6-capitol-attack-
live-near-dunnellon/4522691001/. The DOJ Press Release on the indictment was issued on
February 19, 2021. See https://www.justice.gov/usao-mdnc/pr/six-individuals-affiliated-oath-
keepers-indicted-federal-grand-jury-conspiracy-obstruct.
          Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 27 of 30




          77.     Pursuant to legal process, the government obtained records from Apple showing

Beeks changed his registration name to “James Justis” and registered a new iPhone 12 Pro on

February 21, 2021.

          78.     Pursuant to legal process, the government obtained records from Qapital (a personal

finance mobile app) showing that Beeks changed his phone number to the number ending in 9669

as well as his email address on February 21, 2021.

          79.     Beeks continues to perform in the Jesus Christ Superstar production.          Law

enforcement observed him in early November 2021 at performances in San Francisco and Los

Angeles. There are no performances scheduled the week of November 15, 2021. The production

is scheduled to perform the week of November 23, 2021, in Milwaukee, Wisconsin, before heading

to Toronto in December.12

          80.     Pursuant to legal process, the government obtained records from an Extra Space

Storage facility in Orlando, Florida, showing that Beeks, using his known address and the phone

number ending in 9669, rented a 10’ x 20’ storage unit starting on March 19, 2021, and that as of

November 16, 2021, the unit is still rented to him. According to the Extra Space records, Beeks

first visited the unit on March 25, 2021, and last visited (as of November 16, 2021) on August 31,

2021.

          81.     On November 15, 2021, law enforcement observed Beeks as he travelled via plane

from Los Angeles International Airport (LAX) to Orlando International Airport (MCO). Beeks

carried a camouflage backpack off the plane, and then retrieved two bags from the baggage

carousel: a large pink bag and a black roller-board bag. Beeks is seen standing with his hands on

the two bag handles and the backpack on his back:



12
     https://ustour.jesuschristsuperstar.com/tickets/
       Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 28 of 30




       82.    At the airport, law enforcement observed Beeks carrying and using a cell phone:




       83.    Law enforcement observed Beeks carry his bags into a ride share vehicle, which

drove him to a house in Gotha, Florida. Beeks entered the house around 2 a.m. on November 16,

2021, and briefly came outside to walk a dog. The house is owned by people other than Beeks.

       84.    Given that the next Jesus Christ Superstar production begins on November 23,

2021, in Milwaukee, Wisconsin, law enforcement assesses that Beeks will likely fly from Orlando

to Milwaukee within the next several days.
       Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 29 of 30




                                         CONCLUSION

       85.     Based on the foregoing, your affiant submits that there is probable cause to believe

that Beeks violated 18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or

impede any official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional

proceedings are official proceedings.

       86.     Finally, your affiant submits that there is probable cause to believe that Beeks

violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain

in any restricted building or grounds without lawful authority to do; and (2) knowingly, and with

intent to impede or disrupt the orderly conduct of Government business or official functions,

engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building

or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of

Government business or official functions. For purposes of Section 1752 of Title 18, a “restricted

building” includes a posted, cordoned off, or otherwise restricted area of a building or grounds

where the President or other person protected by the Secret Service, including the Vice President,

is or will be temporarily visiting; or any building or grounds so restricted in conjunction with an

event designated as a special event of national significance.



                                                     _________________________________
                                                     Special Agent Jimmy S. Park
                                                     Federal Bureau of Investigation


Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3), this 18th day of November
2021.
                                                                          Robin M. Meriweather
                                                                          2021.11.18 19:04:59
                                                                          -05'00'
                                                     _______________________________
                                                     ROBIN M. MERIWEATHER
                                                     U.S. MAGISTRATE JUDGE
Case 1:21-mj-00660-RMM Document 1-1 Filed 11/18/21 Page 30 of 30
